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      22-1801-cv(L)
      New Yorkers for Religious Liberty v. City of New York


                                         In the
                             United States Court of Appeals
                                For the Second Circuit

                                            August Term 2022
                                        Argued: February 8, 2023
                                       Decided: November 13, 2024

                                           Nos. 22-1801, 22-1876



      NEW YORKERS FOR RELIGIOUS LIBERTY, INC., GENNARO AGOVINO, CURTIS CUTLER,
      LIZ DELGADO, JANINE DEMARTINI, BRENDAN FOGARTY, SABINA KOLENOVIC, KRISTA
      ODEA, DEAN PAOLILLO, DENNIS PILLET, MATTHEW RIVERA, LAURA SATIRA, FRANK
          SCHIMENTI, JAMES SCHMITT, MICHAEL KANE, individually, and for all others
         similarly situated, WILLIAM CASTRO, individually, and for all others similarly
          situated, MARGARET CHU, individually, and for all others similarly situated,
      HEATHER CLARK, individually, and for all others similarly situated, STEPHANIE DI
         CAPUA, individually, and for all others similarly situated, ROBERT GLADDING,
         individually, and for all others similarly situated, NWAKAEGO NWAIFEJOKWU,
       individually, and for all others similarly situated, INGRID ROMERO, individually,
        and for all others similarly situated, TRINIDAD SMITH, individually, and for all
       others similarly situated, AMARYLLIS RUIZ-TORO, individually, and for all others
         similarly situated, NATASHA SOLON, individually, and for all others similarly
                                             situated,

                                                                               Plaintiﬀs-Appellants,

       MATTHEW KEIL, JOHN DE LUCA, SASHA DELGADO, DENNIS STRK, SARAH BUZAGLO,
        BENEDICT LOPARRINO, JOAN GIAMMARINO, AMOURA BRYAN, EDWARD WEBER,
                                CAROLYN GRIMANDO,

                                                                  Consolidated Plaintiﬀs-Appellants,




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                                                V.


       CITY OF NEW YORK, ERIC ADAMS, ASHWIN VASAN, in his oﬃcial capacity as
     Health Commissioner of the City of New York, NEW YORK CITY DEPARTMENT OF
                                     EDUCATION,

                                                                       Defendants-Appellees, *

                                      ROBERTA REARDON,

                                                                                  Defendant.



                        Appeal from the United States District Court
                           for the Eastern District of New York
                           No. 22-cv-752, Diane Gujarati, Judge.

                        Appeal from the United States District Court
                           for the Southern District of New York
                         No. 21-cv-7863, Naomi R. Buchwald, Judge.



                    Before:       JACOBS, LEE, AND PÉREZ, Circuit Judges.

         In August 2021, after almost a year and a half of rapid spread of COVID-19,
 New York City’s Department of Education prepared to reopen its educational
 facilities following the Food and Drug Administration’s full approval of a COVID-
 19 vaccine. The City’s Commissioner of Health and Mental Hygiene then
 instituted a requirement that all Department of Education staﬀ and other City
 employees and contractors working in person in school settings get vaccinated for
 COVID-19. In the months and years since, the City—at times following legal
 challenges requiring our intervention—updated and revamped its mandate policy



 *   The Clerk of Court is respectfully directed to amend the oﬃcial case caption accordingly.
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 and religious exemption process. The two cases in this appeal present yet another
 test of the constitutionality of the City’s approach.

        Appellants are New York City public sector employees challenging, both
 facially and as applied, New York City’s COVID-19 vaccination mandates, as
 amended pursuant to this Court’s prior directive in Kane v. De Blasio, 19 F.4th 152
 (2d Cir. 2021). In the appeal from the Southern District of New York, Appellants
 challenge the denial of a preliminary injunction and the dismissal of their
 consolidated amended complaint on the merits. In the appeal from the Eastern
 District of New York, Appellants challenge the denial of a similar preliminary
 injunction motion.

         Given the overlapping nature of the claims and motions below, and the
 relief sought on appeal, we consolidated our review of these cases. For the reasons
 set forth herein, we AFFIRM IN PART and DISMISS IN PART the denials of
 preliminary injunction, AFFIRM the dismissal of the facial challenges, and
 AFFIRM IN PART and VACATE and REMAND IN REMAINING PART the
 dismissal of the as-applied challenges.



 FOR PLAINTIFFS-APPELLANTS:            JOHN J. BURSCH, Bursch Law PLLC,
                                       Caledonia, MI (Barry Black, Nelson Madden
                                       Black LLP, New York, NY; Sujata Sidhu
                                       Gibson, Gibson Law Firm PLLC, Ithaca, NY,
                                       on the brief).

 FOR DEFENDANTS-APPELLEES:             SUSAN PAULSON (Richard Dearing, Devin
                                       Slack, on the brief), for Hon. Sylvia O. Hinds-
                                       Radix, Corporation Counsel of the City of
                                       New York, New York, NY.




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 PER CURIAM:

       In August 2021, after almost a year and a half of rapid spread of COVID-19,

 the Department of Education of New York City (“the City”) prepared to reopen its

 educational facilities following the Food and Drug Administration’s full approval

 of a COVID-19 vaccine. To combat the further spread of the virus as the City

 returned to “normal,” the City’s Commissioner of Health and Mental Hygiene

 instituted a COVID-19 vaccine requirement for all Department of Education staﬀ

 and other City employees and contractors working in person in school settings. In

 the months and years since, the City—at times following legal challenges requiring

 our intervention—updated and revamped both its mandate policy and religious

 exemption process. The two cases consolidated in this appeal present yet another

 test of the constitutionality of the City’s approach.

       Appellants are New York City public sector employees contesting the

 constitutionality, both facially and as applied, of New York City’s COVID-19

 vaccination mandates, as amended pursuant to this Court’s prior directive in Kane

 v. De Blasio, 19 F.4th 152 (2d Cir. 2021) (“Kane I”). In the appeal from the Southern

 District of New York, Appellants challenge the denial of a preliminary injunction

 based on a consolidated amended complaint and the dismissal of that complaint


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 on the merits. In the appeal from the Eastern District of New York, Appellants

 challenge the denial of a similar preliminary injunction motion.

       Given the overlapping nature of the proceedings below, and the relief

 sought on appeal, we consolidated our review of these cases. For the reasons set

 forth herein, we AFFIRM IN PART and DISMISS IN PART the denials of

 preliminary injunctions, AFFIRM the dismissal of the facial challenges, and

 AFFIRM IN PART and VACATE and REMAND IN REMAINING PART the

 dismissal of the as-applied challenges.

                             I.        BACKGROUND

       The facts pertaining to this appeal are comprehensively set forth in our

 November 28, 2021 per curiam opinion in Kane I, which concerned a challenge by

 some of the same parties in this appeal of the Southern District’s initial denial of

 their earlier motions to preliminarily enjoin enforcement of the City’s COVID-19

 vaccination mandate (“Vaccine Mandate” or “Mandate”). See Kane I, 19 F.4th at

 159–63. Accordingly, we assume the parties’ familiarity with the facts and record

 of prior proceedings, which we summarize and reference only as necessary for

 review of the instant appeal.




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 A.    Our Prior Decision in Kane I

       In Kane I, we held that “[t]he Vaccine Mandate, in all its iterations, [wa]s

 neutral and generally applicable.” 19 F.4th at 164. We also found that the Vaccine

 Mandate’s exemption policy did not treat secular conduct more favorably than

 comparable religious conduct. Id. at 166. Accordingly, we determined that the

 Kane I appellants (a subgroup of the ones in this appeal) were not likely to succeed

 in their argument that the Mandate was facially unconstitutional. Id. We therefore

 refused to enjoin the Mandate pending litigation. Id.

       However, we made the “exceedingly narrow” determination that the Kane I

 appellants were likely to succeed on their as-applied challenges based on the City’s

 own admission of a potential defect in how it initially reviewed requests for

 religious accommodations for and exemptions from the Mandate (the “Arbitration

 Award Standards”). Id. at 167. Kane I arose from a teachers’ union challenge to

 the Vaccine Mandate. Id. at 159–60. The union ﬁled a formal objection to the

 Mandate’s lack of medical or religious accommodations. Id. at 160. The dispute

 went to arbitration, which led to an “Arbitration Award” granting an exemption

 and accommodation request system that imposed standards “for determining . . .

 religious accommodations to” the Mandate and an appeals process. Id. The



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 Arbitration Award Standards provided that religious exemption “requests shall

 be denied where the leader of the religious organization [to which the requestor

 belongs] has spoken publicly in favor of the vaccine, . . . or where the objection is

 personal, political, or philosophical in nature.” Id. at 168. In Kane I, we took issue

 with this text because “[i]t is not within the judicial ken to question the centrality

 of particular beliefs or practices to a faith, or the validity of particular litigants’

 interpretations of [their] creeds.” Id. (quoting Hernandez v. Commissioner, 490 U.S.

 680, 699 (1989)).

       Consequently, we kept in place directions from a previous motions panel of

 this Court ordering the City to reconsider the Kane I appellants’ religious

 accommodation requests “by a central citywide panel, which [would] adhere to

 the standards of, inter alia, Title VII of the Civil Rights Act of 1964, rather than the

 challenged criteria set forth in . . . the [A]rbitration [A]ward.” Id. at 162 (internal

 quotation marks omitted). We also did not disturb the remainder of the motions

 panel’s order.

 B.    Developments Since Kane I

       After our decision in Kane I, the newly constituted City of New York

 Reasonable Accommodation Appeals Panel (“Citywide Panel” or “Panel”)



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 reviewed anew religious accommodation requests. In eﬀect, the Citywide Panel

 oﬀered employees who had been denied a vaccination-related accommodation a

 form of administrative appellate review. Each of the named plaintiﬀs who were

 then a part of Kane I had their claims reviewed by the Citywide Panel. 1

       In December 2021, after learning the outcome of their appeals before the

 Citywide Panel, the Kane I plaintiﬀs again ﬁled a series of motions, including for a

 preliminary injunction, largely on the same grounds as their initial challenge to

 the Mandate. The Southern District denied all requests, but permitted the

 plaintiﬀs to submit a consolidated amended complaint (“CAC”). The Kane I

 plaintiﬀs ﬁled an immediate interlocutory appeal of the denial of preliminary

 injunction, and sought to enjoin the accommodation process of the Citywide Panel.

 A panel of this Court denied the plaintiﬀs’ motion for a preliminary injunction

 pending appeal and aﬃrmed the district court’s decision in its entirety. Keil v. City

 of New York, No. 21-3043-CV, 2022 WL 619694, at *4 (2d Cir. Mar. 3, 2022)

 (summary order) (“Keil”). We noted that because the Citywide Panel was not

 applying the Arbitration Awards exemption standard, the arguments that the



 1 Plaintiﬀs-Appellants Carolyn Grimando, Joan Giammarino, Benedict LoParrino,
 Edward Weber, Amoura Bryan, and Natasha Solon joined this litigation after the prior
 appeal in Kane I.
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 plaintiﬀs in Keil advanced were largely irrelevant to consideration of the

 preliminary injunction motion concerning the new Citywide Panel. Id. at *2. In

 their later-submitted CAC in the Southern District, the plaintiﬀs then contested the

 constitutionality of the new Citywide Panel’s process and determinations. See

 Kane v. De Blasio, 623 F. Supp. 3d 339 (S.D.N.Y. 2022) (Buchwald, J.) (“Kane II”).

 The instant appeal stems from proceedings following the ﬁling of the CAC.

       Around the same time, a set of plaintiﬀs in the Eastern District of New York,

 largely represented by the same attorneys representing the Keil plaintiﬀs, also

 challenged the Vaccine Mandate. See generally Complaint, New Yorkers for Religious

 Liberty, Inc. v. City of New York, No. 22-CV-752 (E.D.N.Y. Feb. 10, 2022), ECF No. 1

 (Gujarati, J.) (“NYFRL”).    The NYFRL plaintiﬀs principally made the same

 arguments and sought the same relief as the Keil plaintiﬀs.

       The Southern District eventually dismissed the Keil CAC with prejudice.

 And both the Southern and Eastern Districts denied the respective motions for

 preliminary injunction before them.

 C.    The District Courts’ Decisions

       In their dispositions, both district courts relied on our decisions in Kane I

 and Keil. In the Eastern District, Judge Gujarati reasoned that the NYFRL plaintiﬀs



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  were unlikely to succeed on the merits of their First Amendment claims and that

  they failed to show irreparable harm because (1) there was no First Amendment

  right to an exception from a requirement that public employees get vaccinated to

  retain their jobs; and (2) adverse employment consequences are generally not

  irreparable harms. 2 See Transcript of Oral Argument at 40–41, New Yorkers for

  Religious Liberty, Inc. v. City of New York, No. 22-CV-752 (E.D.N.Y. Aug. 11, 2022),

  ECF No. 116 (denying preliminary injunction from the bench). In the Southern

  District, Judge Buchwald denied the Keil plaintiﬀs a preliminary injunction for

  largely the same reasons.

        In addition, Judge Buchwald rejected the facial challenges to the Mandate

  by the Keil plaintiﬀs on the merits as having been largely resolved by Kane I. She

  concluded that “statements [regarding religion] made by City and State oﬃcials,”

  raised again in the CAC, do not establish “evidence of animus,” attributable to

  those individuals personally, or to the State more generally. Kane II, 623 F. Supp.

  3d at 355.




  2The district court stayed action on the underlying complaint in the Eastern District
  pending this appeal of the denial of the preliminary injunction.
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        On the Keil plaintiﬀs’ as-applied claims, Judge Buchwald found that the

  subset of plaintiﬀs who had not “avail[ed] themselves of the [amended Citywide

  Panel] process for seeking a religious exemption” could not challenge that process

  as unconstitutional. Id. at 362. As to the plaintiﬀs who did go through the

  Citywide Panel process, she found their allegations too conclusory to state a claim.

  For the majority of those individuals, the Citywide Panel found it would be an

  “undue hardship” to accommodate them given the nature of their job functions.

  Id. at 363. The district court stated that the Panel’s ﬁndings as to this group of

  plaintiﬀs “satisﬁed the requirements of Title VII,” and thus the standards

  articulated in Kane I. Id. Judge Buchwald noted that only plaintiﬀ Heather Clark’s

  case turned on the Panel’s conception of whether Clark had a “sincere religious

  belief.” Id. at 362. Nonetheless, she determined the Panel’s denial was proper with

  respect to Clark because it found that Clark had sought an accommodation due

  not to her religious beliefs, but to her beliefs about what “non-religious sources”

  said about the vaccine. Id. at 362 n.30.

        This consolidated appeal of both cases followed.




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                                II.      DISCUSSION

        Appellants now ask us to review the denials of preliminary injunction, and

  the rejection of their facial and as-applied challenges to the Vaccine Mandate and

  the Citywide Panel’s accommodation process for alleged violations of the Free

  Exercise and Establishment Clauses. We address each issue in turn.

  A.    Standard of Review

        “We review a district court’s denial of a preliminary injunction for abuse of

  discretion, examining the legal conclusions underpinning the decision de novo and

  the factual conclusions for clear error.” Green Haven Prison Preparative Meeting of

  Religious Soc’y of Friends v. N.Y. State Dep’t of Corr. & Cmty. Supervision, 16 F.4th 67,

  78 (2d Cir. 2021).

        “We review a district court’s grant of a motion to dismiss de novo,

  ‘accepting as true all factual claims in the complaint and drawing all reasonable

  inferences in the plaintiﬀ’s favor.’” Henry v. County of Nassau, 6 F.4th 324, 328 (2d

  Cir. 2021) (quoting Fink v. Time Warner Cable, 714 F.3d 739, 740–41 (2d Cir. 2013)).

  To survive a motion to dismiss, a complaint must allege “enough facts to state a

  claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544,

  570 (2007). “A claim is plausibly alleged ‘when the plaintiﬀ pleads factual content



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  that allows the court to draw the reasonable inference that the defendant is liable

  for the misconduct alleged.’” Matzell v. Annucci, 64 F.4th 425, 433 (2d Cir. 2023)

  (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)).

  B.    Denials of Preliminary Injunction

        This is the third time that we sit in review—in one form or another—of

  motions seeking preliminary injunction against New York City’s Vaccine

  Mandates. Regarding the current version of this challenge, we dismiss as moot

  the request for relief in the form of recission of the Vaccine Mandate, and we deny

  on the merits the request for preliminary injunctive relief in the form of

  reinstatement and backpay.

        1.     Recission of the Vaccine Mandate

        We conclude that Appellants’ request to rescind the Vaccine Mandate is

  moot. “When the issues in dispute between the parties are no longer live, a case

  becomes moot, . . . and the court—whether trial, appellate, or Supreme—loses

  jurisdiction over the suit, which must be dismissed[.]” Lillbask ex rel. Mauclaire v.

  State of Conn. Dept. of Educ., 397 F.3d 77, 84 (2d Cir. 2005) (internal citations and

  quotation marks omitted). “A case becomes moot ‘when it is impossible for a

  court to grant any eﬀectual relief whatever to the prevailing party.’” Conn.



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  Citizens Def. League, Inc. v. Lamont, 6 F.4th 439, 444 (2d Cir. 2021) (quoting

  Janakievski v. Exec. Dir., Rochester Psychiatric Ctr., 955 F.3d 314, 319 (2d. Cir. 2020)).

        It is true that modiﬁcation or withdrawal of a COVID-19 restriction during

  the course of litigation does not necessarily moot the case. See Tandon v. Newsom,

  593 U.S. 61, 63 (2021) (holding that where litigants “‘remain under a constant

  threat’ that government oﬃcials will use their power to reinstate the challenged

  restrictions,” they remain entitled to seek emergency injunctive relief (quoting

  Roman Catholic Diocese of Brooklyn v. Cuomo, 592 U.S. 14, 68 (2020))). But in order

  to escape a mootness dismissal, a plaintiﬀ still must demonstrate a reasonable

  expectation of repetition that is “more than a mere physical or theoretical

  possibility.” Lillbask ex rel. Mauclaire, 397 F.3d at 86 (internal quotation marks

  omitted).

        Here, the City oﬃcially rescinded the Mandate on February 10, 2023—after

  we heard oral argument in these cases—and there is no evidence to suggest that

  Appellants have a reasonable expectation that is more than theoretical of its

  reinstatement. Accordingly, as numerous other circuits have concluded with




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  regard to rescinded COVID-19-related restrictions, the request for recission of the

  Mandate is now moot. 3

         2.     Reinstatement and Backpay

         Appellants’ request for preliminary injunctive relief in the form of

  reinstatement and backpay fails on the merits.

         “When a preliminary injunction will aﬀect government action taken in the

  public interest pursuant to a statute or regulatory scheme, the moving party must

  demonstrate (1) irreparable harm absent injunctive relief, (2) a likelihood of



  3 See, e.g., Brach v. Newsom, 38 F.4th 6, 11 (9th Cir. 2022) (ﬁnding moot a challenge to

  California’s suspension of in-person instruction in K-12 schools in 2020–2021 because
  “there [was] no longer any state order for the court to declare unconstitutional or enjoin”
  and because the potential reimposition of such restrictions in the future was
  “speculative”); Resurrection School v. Hertel, 35 F.4th 524, 530 (6th Cir. 2022) (en banc)
  (ﬁnding moot a challenge to a statewide mask mandate repealed nearly a year prior
  because there was “no reasonable possibility” that the state would reimpose a mask
  mandate in the future); Lighthouse Fellowship Church v. Northam, 20 F.4th 157, 165 (4th Cir.
  2021) (declaring a challenge to several state executive orders moot where “there [was]
  simply no reasonable expectation” that the appellant would again be subjected to
  executive orders restricting public and private gatherings, after they had expired and the
  state of emergency related to the COVID-19 pandemic had been lifted); Cnty. of Butler v.
  Gov. of Penn., 8 F.4th 226, 229–30 (3d Cir. 2021) (ﬁnding moot a challenge to three state
  directives—stay-at-home orders, business closure orders, and orders setting
  congregation limits in secular settings—based on changed circumstances, including the
  state of the COVID-19 pandemic and the expiration of the challenged orders); Hawse v.
  Page, 7 F.4th 685, 692 (8th Cir. 2021) (ﬁnding moot a challenge to a public health order
  limiting the number of people who could gather in a single room or space because “it
  [was] absolutely clear that the County’s disputed conduct could not reasonably be
  expected to recur” and “litigation over a defunct restriction” could not “present a live
  controversy in perpetuity”).
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  success on the merits, and (3) public interest weighing in favor of granting the

  injunction.” Kane I, 19 F.4th at 163 (quoting Agudath Isr. of Am. v. Cuomo, 983 F.3d

  620, 631 (2d Cir. 2020)). However, “[i]n government personnel cases, like this one,

  we apply a particularly stringent standard for irreparable injury and pay special

  attention to whether the interim relief will remedy any irreparable harm that is

  found.” Id. at 171 (internal quotation marks omitted). “[E]xcept in a ‘genuinely

  extraordinary situation,’ irreparable harm is not shown in employee discharge

  cases simply by a showing of ﬁnancial distress or diﬃculties in obtaining other

  employment.” Am. Postal Workers Union v. USPS, 766 F.2d 715, 721 (2d Cir. 1985)

  (quoting Sampson v. Murray, 415 U.S. 61, 92 n.68 (1974)). Thus, “the injuries that

  generally attend a discharge from employment—loss of reputation, loss of income

  and diﬃculty in ﬁnding other employment—do not constitute the irreparable

  harm necessary to obtain a preliminary injunction.” Guitard v. U.S. Sec’y of Navy,

  967 F.2d 737, 742 (2d Cir. 1992).

        In Kane I, we nevertheless found irreparable harm because “‘the threat of

  permanent discharge’ can cause irreparable harm in the First Amendment

  context.” 19 F.4th at 170 (quoting Am. Postal Workers Union, 766 F.2d at 722). And

  importantly, because the appellants had “demonstrated that they were denied


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  religious accommodations . . . and were consequently threatened with imminent

  termination if they did not waive their right to sue,” id. at 169–70, we preliminarily

  enjoined the City from terminating the appellants or requiring them to opt into

  the extended leave program pending reconsideration of their religious

  accommodation requests. Id. at 162–63.

        At the same time, we underscored that our determination did “not cast

  doubt on the well-established principle that loss of employment does not usually

  constitute irreparable injury.” Id. at 170 n.18 (emphasis and internal quotation

  marks omitted) (quoting D oes 1 -6 v . M ills, 1 6 F .4th 2 0, 3 6 ( 1st C ir. 2 021)).

  Consequently, we still denied the Kane I appellants’ request for “an injunction

  immediately reinstating [plaintiﬀs] and granting them backpay pending” new

  “consideration of their requests for religious accommodations” because they had

  “not shown they would suﬀer irreparable harm absent this broader relief.” Id. at

  170; see also id. at 171 (“[W]hen irreparable harm arises not from an interim

  discharge but from the threat of permanent discharge a preliminary injunction is

  inappropriate because harm would not be vitiated by an interim injunction.”

  (internal quotation marks and alterations omitted)).




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        Turning to the instant appeal, as of the time of brieﬁng, “all but four of the

  [thirteen] NYFRL” plaintiﬀs “and three of the [nineteen] Kane” plaintiﬀs “ha[d]

  been terminated or forced to resign.” Appellants’ Br. at 19. The only ones who

  had not been terminated were either “accommodated” or chose to get

  “vaccinated.” Appellees’ Br. at 1. Appellants argue their irreparable harm was

  the ongoing “coercive condition” of the Mandate because the City “continue[d] to

  oﬀer new ‘last chances’ for terminated employees to be reinstated if they [received]

  the vaccine.” Appellants’ Br. at 96. Appellants argue that the City’s actions

  imposed a “condition[] on [a] public beneﬁt[]” that “dampen[s] the exercise of

  [their] First Amendment rights,” which they say rises to the level of irreparable

  injury. Id. (alterations omitted) (quoting E lrod v . B urns, 4 27 U .S. 3 47, 3 58 n .11

  (1976)).

        However, Appellants ﬁled the at-issue motions for preliminary injunctions

  after they were terminated. Therefore, they cannot show the “speciﬁc present

  objective harm or a threat of speciﬁc future harm” required of them. Laird v.

  Tatum, 408 U.S. 1, 14 (1972). Appellants’ reliance on the Supreme Court’s decision

  in Elrod for the proposition that ongoing irreparable harm can exist post-

  termination is inapt. See, e.g., Appellants’ Reply Br. at 7 (“Most of the Elrod


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  plaintiﬀs were already terminated for failing to comply with a coercive condition

  when they sought a preliminary injunction.”). Although it is true that most Elrod

  plaintiﬀs had already been terminated, the Elrod Court did not ﬁnd irreparable

  harm as to the post-termination plaintiﬀs. It found irreparable harm only for “one of

  the respondents [who] was . . . threatened with discharge” and other “class

  respondents . . . threatened with discharge or [who] had agreed to provide support

  for the Democratic Party in order to avoid discharge.” Elrod, 427 U.S. at 373.

  Because harm for these still-employed plaintiﬀs was “both threatened and

  occurring at the time of [their] motion” for a preliminary injunction, these plaintiﬀs

  could demonstrate irreparable harm. Id. at 374 (emphasis added). Elrod instructs

  that because Appellants here had already been terminated at the time of their

  preliminary injunction motions, they were not suﬀering ongoing harms or threats

  of harm.    Having already been discharged, their harm is compensable, not

  irreparable. Therefore, we deny Appellants’ request for injunctive relief in the form

  of reinstatement and backpay.

  C.    Dismissal of Facial Challenges in the Consolidated Amended Complaint

        The Keil Appellants’ facial challenges to the Citywide Panel system under

  the Establishment and Free Exercise Clauses fail because Appellants have oﬀered



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  no more than conclusory allegations that the Citywide Panel was applying

  unconstitutional standards or was infected with religious animus.

        1.     Free Exercise Challenge

        The First Amendment provides: “Congress shall make no law respecting an

  establishment of religion, or prohibiting the free exercise thereof.” U.S. Const.

  amend. I. This guarantee is incorporated against the states via the Fourteenth

  Amendment. See Cantwell v. Connecticut, 310 U.S. 296, 303 (1940). “The free

  exercise of religion means, ﬁrst and foremost, the right to believe and profess

  whatever religious doctrine one desires.” Employment Div., Dep’t of Human Res. v.

  Smith, 494 U.S. 872, 877 (1990).     “The Free Exercise Clause thus protects an

  individual’s private right to religious belief, as well as ‘the performance of (or

  abstention from) physical acts that constitute the free exercise of religion.’” Kane

  I, 19 F.4th at 163–64 (quoting Cent. Rabbinical Cong. of U.S. & Can. v. N.Y.C. Dep’t of

  Health & Mental Hygiene, 763 F.3d 183, 193 (2d Cir. 2014)). “This protection,

  however, ‘does not relieve an individual of the obligation to comply with a valid

  and neutral law of general applicability.’” Id. at 164 (quoting Smith, 494 U.S. at

  879). For purposes of a facial claim, a “law that is facially neutral [may] still run

  afoul of the neutrality principle if it ‘targets religious conduct for distinctive



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  treatment.’” Id. (quoting Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508

  U.S. 520, 533 (1993)). We previously determined that the City’s “Vaccine Mandate,

  in all its iterations, [wa]s neutral[,] generally applicable,” and facially

  constitutional under the Free Exercise Clause. Id. That holding from Kane I

  remains binding against Appellants’ facial Free Exercise Clause challenge.

        2.     Establishment Clause Challenge

        That leaves Appellants’ facial Establishment Clause challenge.              The

  Establishment Clause prevents the enactment of laws that have the “purpose” or

  “eﬀect” of “advancing or inhibiting religion.” Agostini v. Felton, 521 U.S. 203, 222–

  23 (1997) (aﬃrming that “we continue to ask whether the government acted with

  the purpose of advancing or inhibiting religion” and “whether the aid has the

  ‘eﬀect’ of advancing or inhibiting religion”). Laws that “grant[] a denominational

  preference” by preferring one religion over another violate the Establishment

  Clause, too. Larson v. Valente, 456 U.S. 228, 244-46 (1982). Appellants argue that

  the Citywide Panel system violates the Establishment Clause both by privileging

  some religious beliefs over others and by being infected with religious animus.

  We reject both contentions.




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         At oral argument, Appellants asserted that the Citywide Panel eﬀectively

  continued to have multiple tracks for handling appeals from members of diﬀerent

  faiths and therefore that certain faiths received preferential treatment over others.

  But the CAC pleads no facts about this. At best, the only relevant allegations are

  statements by the City’s former mayor, which predate Kane I and the existence of

  the Citywide Panel. See, e.g., App’x at 80, 94–95 (stating that “Mayor de Blasio”

  said in “press brieﬁngs . . . that the City would be openly preferencing Christian

  Scientists,” and that the Arbitration Award Standards enjoined in Kane I would

  provide exemptions only “for recognized and established religious organizations

  (e.g., Christian Scientists)”).

         Even if these allegations in the CAC demonstrated an Establishment Clause

  issue with the now-stricken Arbitration Award Standards, Appellants have failed

  to allege an Establishment Clause violation with respect to the Citywide Panel or

  the City’s current processes, which were implemented after our remand in Kane I.

  There, we rejected the assertion that certain government oﬃcials’ statements

  purportedly preferring certain faiths were relevant to the neutrality of the

  Mandate and exemption standards under the First Amendment. Kane I, 19 F.4th

  at 165 n.13 (“While Mayor de Blasio said that only Christian Scientists and


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  Jehovah’s Witnesses could receive religious accommodations, the City has granted

  accommodations to members of many other faiths.”); id. at 165 (ﬁnding that Mayor

  de Blasio’s statements “reﬂect nothing more than the Mayor’s personal belief that

  religious accommodations will be rare” and that he “did not have a meaningful

  role in establishing or implementing the Mandate’s accommodations process”); see

  also We the Patriots, 17 F.4th 266, 283 (2d Cir.), op. clariﬁed 17 F.4th 368 (2021)

  (“Governor Hochul’s expression of her own religious belief as a moral imperative

  to become vaccinated cannot reasonably be understood to imply an intent on the

  part of the State to target those with religious beliefs contrary to hers[.]”).

  Ultimately, these statements were made before the Panel process was even

  contemplated. And crucially, Appellants do not plead any tangible connection

  between the statements and the Panel’s processes.         For these reasons, the

  statements are not relevant to our assessment of the Citywide Panel process.

        Appellants assert that the Citywide Panel failed to abide by the Kane I

  standards, but their CAC fails to include any well-pleaded factual allegations to

  support this argument. Rather, all the CAC pleads in this regard are conclusions

  unsupported by facts. See Vullo, 49 F.4th at 713 (“To determine whether a claim is

  plausible, we must separate the complaint’s factual allegations from its


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  conclusions and then determine whether the remaining well-pleaded factual

  allegations plausibly allege entitlement to relief.”). For example, the CAC states

  that although “the Citywide Appeals Panel was supposed to apply standards” as

  set forth in Kane I, which “includ[e] . . . the standards established by Title VII,” “the

  Citywide Appeals Panel did not apply these standards, and is simply using this

  ‘fresh look’ process to try and justify their original unlawful discriminatory

  suspensions in bad faith.” App’x at 112. These legal conclusions are insuﬃcient

  to state a claim and cannot carry Appellants past a motion to dismiss. See Twombly,

  550 U.S. at 555 (noting that “courts are not bound to accept as true a legal

  conclusion couched as a factual allegation” (internal quotation marks omitted)).

        The CAC also alleges only legal conclusions regarding the reasoning

  provided by the Citywide Panel for its religious accommodation denials.

  Appellants received an email response following their request for more

  information about why each Keil plaintiﬀ who appealed to the Panel was denied.

  Appellants assert that, “[u]pon information and belief, the[] ‘reasons’ [provided

  by DOE Attorneys] w ere a n a fterthought” a nd a “ sham.” App’x at 113. But a

  “litigant cannot merely plop ‘upon information and belief’ in front of a conclusory

  allegation and thereby render it non-conclusory.” Citizens United v. Schneiderman,


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  882 F.3d 374, 384 (2d Cir. 2018). These allegations, too, fail to satisfy Appellants’

  pleading burden.

        In fact, contrary to Appellants’ conclusory allegation that the Citywide

  Panel “rubber-stamped,” App’x at 226, the previous denials in “bad faith,” id. at

  112, the CAC alleges that the Citywide Panel frequently credited the personal

  religious beliefs about vaccination held by Appellants of diﬀerent faiths. 4

        Because the CAC asserts no facts to suggest that the Citywide Panel

  preferred certain religions over others or was infected with religious animus, we

  aﬃrm the district court’s dismissal of the facial challenge.




  4 See, e.g., App’x at 277 (reversing denial of accommodation request because Appellant
  William Castro, of unspeciﬁed Christian faith, “has suﬃciently established that he holds
  sincerely held religious beliefs, of which he and his family have consistently adhered to,
  that require [him] to abstain from vaccination”); id. at 275 (ﬁnding that Appellant
  Nwakaego Nwaifejokwu, of unspeciﬁed faith, “holds sincerely held religious beliefs
  suﬃcient to justify a reasonable accommodation” but ﬁnding that accommodating the
  classroom teacher would present an “undue hardship”); id. at 276 (ﬁnding that Appellant
  John De Luca, a Catholic, “holds sincerely held religious beliefs suﬃcient to justify a
  reasonable accommodation,” but ﬁnding that accommodating the classroom teacher
  would present an “undue hardship”); id. at 273 (reﬂecting the ﬁnding of the one panelist
  who reached the question that Appellant Matthew Keil, a Russian Orthodox Christian,
  “articulated a sincerely held religious belief that precludes vaccination,” but that all
  panelists agreed that accommodating the classroom teacher would present an “undue
  hardship”); id. at 154 (granting Appellant Amaryllis Ruiz-Toro, a member of a “minority
  church[],” a religious accommodation under the Exemption Standards). These
  statements undermine Appellants’ contention that the Citywide Panel preferred certain
  religions over others or treated religion with hostility broadly.
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  D.    Dismissal of As-Applied Challenges in the Consolidated Amended
        Complaint

        The Keil Appellants also challenge the district court’s dismissal of their as-

  applied claims. They contend that the denial of their religious accommodation

  requests violated their First Amendment rights either because the City failed to

  show that it would suﬀer an undue hardship, or inappropriately preferred some

  religious beliefs over others.

        Whether an applicant has a (1) sincere and (2) religious belief regarding

  vaccination are questions of fact that are subject to examination when an

  employment accommodation is sought. However, we do not “sit in judgment on

  the verity of an adherent’s religious beliefs.” Patrick v. LeFevre, 745 F.2d 153, 157

  (2d Cir. 1984). Rather, our task is “to determine whether religious beliefs are

  ‘sincerely held.’” Jackson v. Mann, 196 F.3d 316, 321 (2d Cir. 1999). Importantly,

  “[l]ocal boards and courts . . . are not free to reject beliefs because they consider

  them ‘incomprehensible.’” United States v. Seegar, 380 U.S. 163, 184–85 (1965). In

  other words, the Citywide Panel could deny accommodations if it concluded a

  claimant was not personally devout in the belief underlying the objection, but it

  could not deny accommodations because it cast judgment on the nature of the




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  religious objection raised. We assess on review whether the Citywide Panel

  engaged in the appropriate task.

        Further, under Title VII “when an employee has a genuine religious practice

  that conﬂicts with a requirement of employment,” the employer typically must

  oﬀer the employee a “reasonable accommodation, unless doing so would cause the

  employer to suﬀer an undue hardship.” Cosme v. Henderson, 287 F.3d 152, 158 (2d

  Cir. 2002) (emphasis added). “An accommodation is said to cause an undue

  hardship whenever it results in ‘more than a de minimis cost’ to the employer.”

  Baker v. The Home Depot, 445 F.3d 541, 548 (2d Cir. 2006) (quoting Trans World

  Airlines, Inc. v. Hardison, 432 U.S. 63, 84 (1977)).

        For the reasons below, we ﬁnd that most of the appellants have also failed

  to state plausible as-applied claims, with the exceptions of Natasha Solon and

  Heather Clark.

        1.     The Claims of Buzaglo, Delgado,5 Di Capua, Romero, Smith, and
               Strk

        We start with the six Appellants who have stated constitutional claims

  arising from the denial of their requested accommodations, on the basis of undue




  5This Section refers to Sasha Delgado, an individual whose accommodation request was
  reheard by the Citywide Panel, not Liz Delgado, another Plaintiﬀ-Appellant.
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  hardship to the City. 6 “Because Plaintiﬀs have not established, at this stage, that

  they are likely to succeed in showing that the Vaccine Mandate [wa]s not neutral

  or generally applicable on its face, rational basis review applies.” Kane I, 19 F.4th

  at 166. For the reasons below, these Appellants have failed to state claims.

        For each of these Appellants, the Citywide Panel found that, irrespective of

  their sincerely held religious beliefs, their requests presented an “undue hardship”

  because each individual “is a classroom teacher who, under the present

  circumstances, cannot physically be in the classroom while unvaccinated without

  presenting a risk to the vulnerable and still primarily unvaccinated student

  population.”     App’x at 273–77.       None of these plaintiﬀs can make out a

  constitutional claim for religious discrimination without ﬁrst making a more-than-

  conclusory allegation that the ﬁnding of undue hardship was erroneous or

  pretextual. See Vega v. Hempstead Union Free Sch. Dist., 801 F.3d 72, 83 (2d Cir.

  2015). This is necessary to survive the low threshold of rational basis review. See

  Kane I, 19 F.4th at 166.




  6Other Appellants’ requests for religious accommodations were also denied by the Panel;
  however, the CAC either does not challenge those decisions, or otherwise fails to oﬀer
  any non-conclusory allegations that the denials were related to the Appellants’ religious
  beliefs. Accordingly, we aﬃrm the dismissal of their as-applied constitutional claims.
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        The CAC on its face identiﬁes the Panel’s undue-hardship rationale, but

  does not plead allegations that contradict that ﬁnding. Instead, the CAC oﬀers

  only threadbare conclusions. See, e.g., App’x at 147 (“Ms. Smith does not pose a

  direct threat to anyone based on her vaccine status[.]”); App’x at 138 (Di Capua’s

  conclusory allegation that “she poses no direct threat to anyone”). As a result, the

  district court properly dismissed their religious accommodation claims on that

  basis. 7 Cf. Iowa Pub. Emps.’ Ret. Sys. v. MF Glob., Ltd., 620 F.3d 137, 145 (2d Cir.

  2010) (explaining that an “aﬃrmative defense may be raised by a pre-answer

  motion to dismiss under Rule 12(b)(6) . . . if the defense appears on the face of the

  complaint” (quoting Pani v. Empire Blue Cross Blue Shield, 152 F.3d 67, 74 (2d Cir.

  1998))); see Lowman v. NVI LLC, 821 F. App’x 29, 31–32 (2d Cir. 2020) (summary

  order) (aﬃrming the dismissal of a complaint based on undue hardship where the

  requested accommodation would violate federal law).



  7The First Circuit similarly aﬃrmed dismissal of a case last year concerning individuals
  ﬁred for refusing to comply with vaccine mandates where the plaintiﬀs did not plead
  facts to challenge the undue-hardship determination. See Lowe v. Mills, 68 F.4th 706, 723
  (1st Cir. 2023) (“The plaintiﬀs assert generally that whether their requested
  accommodation would constitute an undue hardship is a question of fact not suitable for
  determination on a motion to dismiss. As discussed above, however, we conclude that
  the complaint’s allegations and the relevant Maine law permit no reasonable inference
  but that granting the plaintiﬀs their requested accommodation would have exposed the
  Providers to a substantial risk of license suspension and other penalties, creating an
  undue hardship.” (internal quotation marks omitted)).
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        Accordingly, we aﬃrm the dismissal of the as-applied challenges by these

  six Appellants who were denied an accommodation on the ground of undue

  hardship. We now turn to the as-applied challenges to the dismissal of claims on

  grounds other than undue hardship.

        2.    Solon’s Claim

        The district court dismissed Solon’s claim as moot because she decided to

  obtain the vaccine and has since been reinstated without backpay. Solon argues

  she remains entitled to backpay for the time she was suspended. We agree that

  Solon has stated a claim that is not moot.

        Crediting Solon’s allegations at this stage, we conclude that she was denied

  a religious exemption under the initial Arbitration Award process despite her

  longstanding objection to most medical treatments, including vaccines. Solon has

  pleaded that she left her prior church and “rel[ies] on her personal relationship

  with God as a guide.” App’x at 150. After the formation of the Panel, Solon did

  not receive fresh review because she chose to receive the vaccine.

        If Solon’s initial, denied exemption application reﬂected her purely personal

  religious practices, then she has plausibly pleaded that she was improperly denied

  an accommodation because the old Arbitration Award Standards only allowed



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  “exemption requests . . . for recognized and established religious organizations,”

  and did not honor exemptions for those whose “religious beliefs were merely

  personal.” Kane I, 19 F.4th at 168 (internal quotation marks omitted). That could

  present a First Amendment problem. As we previously determined, the

  Arbitration Award Standards under which Solon was suspended were very likely

  unconstitutional.    See id. at 168 (“[T]he government, if it is to respect the

  Constitution’s guarantee of free exercise, cannot impose regulations that are

  hostile to the religious beliefs of aﬀected citizens and cannot act in a manner that

  passes judgment upon or presupposes the illegitimacy of religious beliefs and

  practices.” (quoting Masterpiece Cakeshop, Ltd. v. Colo. Civil Rights Comm’n, 584 U.S.

  617, 638 (2018))).

        The fact that Solon has now been reinstated does not necessarily erase every

  injury she alleges. She has plausibly pleaded that she was potentially subjected to

  an unconstitutional government action resulting in injury for which she has yet to

  receive recompense. See App’x at 150–51 (alleging that Solon’s home went into

  foreclosure while she was suspended without pay). Furthermore, the pleadings

  and documents incorporated within the CAC do not indicate that the City ever

  denied Solon’s accommodation request on the independent ground of undue


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  hardship. Regardless of whether Solon ultimately prevails on the merits, she does

  not “lack a legally cognizable interest in the outcome” of her claims at this stage.

  Tann v. Bennett, 807 F.3d 51, 52 (2d Cir. 2015) (quoting Blackwelder v. Safnauer, 866

  F.2d 548, 551 (2d Cir. 1989)). Therefore, the district court erred by dismissing her

  claim as moot when backpay remains an available remedy for her alleged

  wrongful suspension.

           Accordingly, we vacate the district court’s dismissal of Solon’s as-applied

  claim.

           3.    Clark’s Claim

           Heather Clark has also stated a First Amendment claim at this stage. She

  has pleaded that the Citywide Panel dismissed some of her religious beliefs as too

  idiosyncratic to be religious in nature.       This, of course, would be the same

  constitutional problem as presented in Kane I—and similar to why Solon stated a

  claim for backpay. That is, Clark pleaded the denial of a religious accommodation

  on the ground that a person’s religious beliefs are too personal to count as properly

  religious. See 19 F.4th at 168.

           The CAC provides a suﬃcient basis to infer that Clark was wrongfully

  denied a religious accommodation. The CAC pleads that the Citywide Panel



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  rejected her appeal because it “character[ized]” Clark’s receiving “guidance from

  the Holy Spirit as . . . allow[ing] Ms. Clark to follow individualized guidance,” and

  thus concluded that Clark’s beliefs were not “religious in nature.” App’x at 135.

  Consistent with Clark’s allegations, see id. at 134–35, the documents Clark

  submitted to the Citywide P anel d escribe a r eligious o bjection t o t he v accine

  because it is a product of development using fetal cell lines and a “diﬀering

  substance[]” that she may not ingest consistent with her faith. Exhibit A to

  Declaration of Heather Clark at 1–2, Kane II, 623 F. Supp. 3d 339 (S.D.N.Y. 2022),

  (No. 21-cv-7863), ECF No. 128-1. Nevertheless, the district court dismissed Clark’s

  claim because “the [Citywide] panel found that her decision to not receive a

  vaccin[e] was not based on her religious belief, but rather, on nonreligious

  sources,” a conclusion the district court deemed “entirely proper . . . under Title

  VII.” Kane II, 623 F. Supp. 3d at 362 n.30. While such a conclusion could indeed

  be proper and constitutional if the Citywide Panel had a basis for reaching it,

  Clark’s allegations support the plausible inference that the Panel denied her

  request solely on the basis of its characterization of her religious objection as too

  idiosyncratic rather than as not sincerely held or non-religious in nature.




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           Given this possibility, Clark has stated a cognizable as-applied claim at this

  stage.

                               III.      CONCLUSION

           For the foregoing reasons, we DISMISS the request for injunctive relief in

  the form of recission as moot, and we AFFIRM the district court’s denial of

  injunctive relief in the form of reinstatement and backpay. Further, we AFFIRM

  the dismissal of the facial First Amendment challenges, and AFFIRM in part the

  dismissal of the as-applied challenges. Finally, we VACATE and REMAND the

  case to the Southern District of New York for further proceedings consistent with

  this opinion as it relates to Appellants Solon and Clark, making clear that the

  district court may proceed as circumstances and further development of the record

  may require, and that we have not commented today on the merits of any stated

  claims.




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